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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                               CASE NO. 2:11-cr-00216-MCE
12                                 Plaintiff,                STIPULATION REGARDING
                                                             EXCLUDABLE TIME PERIODS
13   v.                                                      UNDER SPEEDY TRIAL ACT;
                                                             ORDER
14   DESHAWN RAY, and
     TIFFANY TUNG,
15
                                   Defendants.
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17
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendants
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     Deshawn Ray and Tiffany Tung by and through their counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for June 19, 2014. The Court vacated the June
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     19, 2014, date and set a status hearing for June 20, 2014.
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            2.       By this stipulation, the parties move to continue the case to July 10, 2014, and to
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     exclude time between June 19, 2014, and July 10, 2014, under Local Code T4.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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            a.       The government and defendant Tung have likely reached an agreement to resolve the
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     case without a trial, and the government will be filing superseding charges against defendant Tung
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 1 pursuant to that agreement. In addition, defense counsel for defendant Ray has an obligation out of

 2 town on Friday, June 20, 2014.

 3          b.       The government does not object to the continuance.

 4          c.       Based on the above-stated findings, the ends of justice served by continuing the case

 5 as requested outweigh the interest of the public and the defendant in a trial within the original date

 6 prescribed by the Speedy Trial Act.

 7          d.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 8 seq., within which trial must commence, the time period of June 20, 2014, to July 10, 2014,

 9 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(B)(iv) and Local Code T4

10 because it results from a continuance granted by the Court at defendants’ request on the basis of the

11 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

12 public and the defendant in a speedy trial.

13          e.       The defendants are aware of and consent to the continuance.

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              Case 2:11-cr-00216-JAM Document 113 Filed 06/24/14 Page 3 of 3



 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of

 2 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3 a trial must commence.

 4

 5 IT IS SO STIPULATED.
   DATED:       June 17, 2014.            /s/ Matthew G. Morris___________________
 6                                        MATTHEW G. MORRIS
                                          Assistant United States Attorney
 7

 8 DATED:          June 17, 2014.         /s/ Julius Engel (auth. 6/14/14)
                                          JULIUS ENGEL
 9                                        Counsel for Defendant Ray
10
     DATED:        June 17, 2014.         /s/ Robert Byers (auth. 6/17/14)
11                                        ROBERT BYERS
                                          Counsel for Defendant Tung
12

13                                                 ORDER
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            IT IS SO ORDERED.
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     Dated: June 20, 2014
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